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                  UNITED STATES DISTRICT COURT
                      DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               Plaintiff,
         v.
                                            Case No. 19-cr-292 (JDB)
ELGIN HOGGARD,

               Defendant.



               MEMORANDUM IN AID OF SENTENCING
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                                    Background

      Mr. Elgin Hoggard has now been under community supervision for well over

a year. Throughout that time, Mr. Hoggard has not had contact with law

enforcement, has endeavored to maintain employment, and has done everything he

can to continue fighting a disease that has haunted him for many years: addiction.

Additionally, Mr. Hoggard has been diligent about maintaining contact with his

supervision officer, had no issues with his curfew, and made sure he was compliant

anytime he was placed on home detention.

      Although the battle with substance abuse is not won overnight, there is little

question that Mr. Hoggard has, and continues to, use all the resources that will help

him break the destructive cycles of addiction. While on pretrial release, he

participated in outpatient treatment and a twenty-eight day inpatient treatment

program, which was followed up by thirty additional days of residential treatment.

Recognizing that he needed additional support, Mr. Hoggard then voluntarily

completed seventy-five days of intensive outpatient treatment.

      Despite the pandemic and all the obstacles that have come with it, Mr.

Hoggard has stayed connected to services and, importantly, his family. Specifically,

his sister, Mary, and his grandchildren have provided an incredible support system

for Mr. Hoggard on his path to recovery. Group meetings have also helped Mr.

Hoggard stay on track.

      Mr. Hoggard has plead guilty to a misdemeanor offense. He accepts

responsibility and understands that his actions have not come without



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consequences. He recognizes that this case has brought nothing but hurt to his

family and stress and instability to his life. As a result of this, he has had to live

with the stress of a federal criminal case for over a year—stress that has

contributed to his problems with addiction. Additionally, not only did his arrest cost

Mr. Hoggard his employment at an Aldi’s Supermarket, he now lives under the

constant threat of losing his government subsidized housing—the home that he has

lived in for over a decade.

      A sentence of time served takes into account all of these factors. It is a

sentence that recognizes that Mr. Hoggard is already taking the steps to address

the issues that brought him before this Court. It is also a sentence that allows him

to fully put this chapter of his life behind him. Additional ties to the criminal justice

system, under these circumstances, will do nothing to further the ends of justice.

                                       Discussion

      In sentencing, the “Court’s overarching duty” is to “‘impose a sentence

sufficient, but not greater than necessary,’” Pepper v. United States, 562 U.S. 476, 493

(2011) (quoting 18 U.S.C. § 3553(a)). To achieve this goal, the sentencing court must

consider, among other things, the nature and circumstances of the offense, the

history and characteristics of the person to be sentenced, and the United States

Sentencing Guidelines. Id. § 3553(a)(1).

      Mr. Hoggard comes before the Court having not had a criminal conviction in

over twenty years. As explained above, with the exception of his battle with

addiction, he has also been compliant with his supervision.



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      Mr. Hoggard’s childhood was a difficult one. Growing up his family was

unable to afford basic needs like running water and electricity. Losing his father at

only nine years old meant that Mr. Hoggard’s mother was left alone to raise him

and his seven siblings. Making matters worse, their home caught fire shortly after

his father’s death. Things did not get any easier.

      Despite this adversary, Mr. Hoggard pushed through, attended college and

obtained his master’s degree in educational media and technology. Sadly, like

millions of Americans, Mr. Hoggard was a victim of the crack epidemic. He would

spend many years trapped in the vicious cycles of drug addiction.

       At 68 years old, however, Mr. Hoggard fully recognizes the devastation that

comes with this disease. He is more determined than ever to get his life back on

track. He is focused on his health and creating stability in his life. Despite some

accidents in the past, he remains and avid cyclist and tries to be as active as

possible. Staying active not only helps with his addiction, but also his physical

health—especially with a painful condition in his legs that causes pooling in his

veins. Mr. Hoggard is also focused on employment. After losing his job of two years

and remaining unemployed for over a year, he was hired in October by WDC Solar,

where he obtained training and worked on installing solar panels. Unfortunately,

he was laid off in late December due to the COVID-19 pandemic.

      Mr. Hoggard also cares about his mental health and understands the

importance of staying connected to treatment, which includes regular

communication with his psychiatrist.



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      Mr. Hoggard has demonstrated that he already has the tools for

rehabilitation. He understands what the underlying issues are and is taking the

steps to address them voluntarily. Additional contact with the criminal justice

system—even if only in the form of supervision—will prolong the stress of an open

criminal case that carries the constant threat of incarceration. Such an environment

is not conducive to someone on the path to recovery. Indeed, in many occasions, it

can have the opposite effect.

                                     Conclusion

      For the foregoing reasons, and such other reasons as may be presented at the

sentencing hearing, Mr. Hoggard respectfully requests that the Court impose a

sentence of time served.



                                       Respectfully submitted,

                                       A.J. Kramer
                                       Federal Public Defender


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